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                                IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS

 Snyder., et al.                                             Case No. 1:14-cv-8461
                                                             (related to Snyder v. US Bank,
                   v.                                        N.A., No. 1:16-cv-11675)

 Ocwen Loan Servicing, LLC                                   Hon. Matthew F. Kennelly



                            Class Counsel Ankcorn Law Firm PLLC’s
                                  Statement of Lodestar Hours

    At the Final Approval Hearing, held April 5, 2018, the Court directed Class

Counsel to file a supplemental statement showing the number of hours dedicated by

the respective firms to the prosecution of this matter.

    Compiling the hours and total lodestar figures from the five firms requesting fees

in this matter, collectively Class Counsel’s request for fees based on the percentage-of-

fund method results in a lodestar multiplier of slightly greater than two. The details are

as follows:


                        Firm                   Hours             Lodestar
                        Terrell Marshall        1,946.8      $      805,922.50
                        Burke                   1,263.0      $      804,562.50
                        Ankcorn                      857.6   $      601,697.50
                        Cabrera                      432.8   $      270,500.00
                        Heaney                       190.0   $      104,500.00
                        Total                   4,690.2      $    2,587,182.50
                        Requested fees                       $     5,289,250.00
                        Multiplier                                          2.04




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    A risk multiplier of 2.04 is well within the allowable range in the Seventh Circuit.

See, e.g., Harman v. Lyphomed, Inc., 945 F.2d 969, 974 (7th Cir.1991) (noting that “[a risk]

multiplier is, within the court’s discretion, appropriate when counsel assume a risk of

nonpayment in taking a suit” and “[m]ultipliers anywhere between one and four . . .

have been approved”). Class Counsel are requesting fees as a percentage of the common

fund, using the same declining marginal percentage scale approach employed by other

courts in this district in similar class settlements. See, e.g., Aranda v. Caribbean Cruise

Line, Inc., No. 1:12-cv-4069, 2017 WL 1369741, at *3 (N.D. Ill. Apr. 10, 2017) (Kennelly,

J.); Craftwood Lumber Co. v. Interline Brands, Inc., No. 11 C 4462, 2015 WL 1399367, at *5

(N.D. Ill. Mar. 23, 2015) (St. Eve, J.); In re Capital One TCPA Litig., 80 F. Supp. 3d 781,

803–06 (N.D. Ill. 2015) (Holderman, J.); but see Young v. County of Cook, No. 06 C 552,

2017 WL 4164238, at *5 (N.D. Ill. Sept. 20, 2017) (Kennelly, J.) (“the Court concludes

that this case, unlike Aranda, falls squarely within the category of cases for which the

use of a declining marginal percentage scale is not appropriate.”) Nevertheless, the

“lodestar cross-check” with a 2.04 multiplier shows that the fee requested is reasonable

in light of the work actually performed to achieve the results obtained.

    The attorneys of the Ankcorn Law Firm PLLC have spent a total of 857.6 hours on

this matter through today’s date. Additional details are set forth in the Declaration of

Mark Ankcorn, filed with this statement.

    Respectfully submitted,

Dated:     April 14, 2018                       ANKCORN LAW FIRM PLLC

                                                /s/ Mark Ankcorn

                                                California Bar No. 166871
                                                Florida Bar No. 55334


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                                  Certificate of Service

       I hereby certify that on the date listed above, I electronically filed the above and
foregoing notice and motion through the Court’s CM/ECF System, which perfected
service on all counsel of record.

                                             /s/ Mark Ankcorn




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